        Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 1 of 6 PageID 320
AO 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                           UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE

                                                               CASE NUMBER: 8:10-cr-497-T-30TBM
                                                               USM NUMBER: 53695-018
vs.


WILMER RENE PINEDA-MEJIA
                                                               Defendant's Attorney: Robert Abreu, ret.

THE DEFENDANT:

X pleaded guilty to count(s) ONE of the Superseding Indictment.
 pleaded nolo contendere to count(s) which was accepted by the court.
 was found guilty on count(s) after a plea of not guilty.


TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT

21 U.S.C. §§ 846,                   Conspiracy to Possess with Intent to          March 1, 2011                       One
and 841(b)(1)(A)(viii)              Distribute 50 Grams or More of
                                    Methamphetamine


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

   The defendant has been found not guilty on count(s)
X Counts TWO and THREE of the Superseding Indictment and Counts ONE AND TWO of the Indictment are dismissed on the motion
of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                  Date of Imposition of Sentence: September 28, 2011




                                                                                  DATE: October 11, 2011
         Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 2 of 6 PageID 321
AO 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:          WILMER RENE PINEDA-MEJIA                                                        Judgment - Page 2 of 6
Case No.:           8:10-cr-497-T-30TBM

                                                               IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. §§
3553(a)(1)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of EIGHTY-SEVEN (87) MONTHS as to Count One of the Superseding Indictment.




 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed in a correctional
institution located in the state of Florida.



 X The defendant is remanded to the custody of the United States Marshal.
  The defendant shall surrender to the United States Marshal for this district.

             at    a.m./p.m. on    .
             as notified by the United States Marshal.

  The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

             before 2 p.m. on     .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.




                                                                         RETURN

         I have executed this judgment as follows:




         Defendant delivered on                                                to
    at                                                                   , with a certified copy of this judgment.


                                                                                  United States Marshal

                                                                          By:
                                                                                           Deputy United States Marshal
        Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 3 of 6 PageID 322
AO 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         WILMER RENE PINEDA-MEJIA                                                           Judgment - Page 3 of 6
Case No.:          8:10-cr-497-T-30TBM
                                                         SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to Count
One of the Superseding Indictment.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
 1)       the defendant shall not leave the judicial district without the permission of the court or probation officer;

 2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
          month;

 3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

 4)       the defendant shall support his or her dependents and meet other family responsibilities;

 5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

 6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

 7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

 8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

 9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;

 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
          or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
          compliance with such notification requirement.
       Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 4 of 6 PageID 323
AO 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        WILMER RENE PINEDA-MEJIA                                         Judgment - Page    4    of 6
Case No.:         8:10-cr-497-T-30TBM

                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

X        The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer’s
         instructions regarding the implementation of this court directive. Further, the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. During and upon completion of this program, the defendant is directed to submit to
         random drug testing.

X        Should the defendant be deported, he shall not be allowed to re-enter the United States without the express permission of the
         appropriate governmental authority.

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed 104 tests per year.
        Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 5 of 6 PageID 324
 AO 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 Defendant:         WILMER RENE PINEDA-MEJIA                                                   Judgment - Page 5 of 6
 Case No.:          8:10-cr-497-T-30TBM

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                            Fine                         Total Restitution

          Totals:           $100.00                               Waived                       N/A


          The determination of restitution is deferred until       .       An Amended Judgment in a Criminal Case (AO 245C) will
          be entered after such determination.
          The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
          3664(i), all non-federal victims must be paid before the United States.


 Name of Payee                                 Total Loss*                 Restitution Ordered                  Priority or Percentage




                            Totals:            $                           $

          Restitution amount ordered pursuant to plea agreement $                          .
          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                  the interest requirement is waived for the ___ fine    ___ restitution.
                  the interest requirement for the ___ fine ___ restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
        Case 8:10-cr-00497-JSM-TBM Document 113 Filed 10/11/11 Page 6 of 6 PageID 325
AO 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:        WILMER RENE PINEDA-MEJIA                                                    Judgment - Page 6 of 6
Case No.:         8:10-cr-497-T-30TBM



                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        X       Lump sum payment of $ 100.00 due immediately, balance due
                                 not later than              , or
                                 in accordance        C,      D,        E or       F below; or
B.                Payment to begin immediately (may be combined with ___ C, ___ D, or ___ F below); or
C.                Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $          over a period
                  of         (e.g., months or years), to commence          days (e.g., 30 or 60 days) after the date of this
                  judgment; or
D.                Payment in equal             (e.g., weekly, monthly, quarterly) installments of $           over a period of
                              , (e.g., months or years) to commence                    (e.g. 30 or 60 days) after release from
                  imprisonment to a term of supervision; or
E.                Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                  after release from imprisonment. The court will set the payment plan based on an assessment of the
                  defendant's ability to pay at that time, or
F.                Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
         Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
X        The defendant shall forfeit the defendant's interest in the following property to the United States: $10,000 in U.S.
         currency found in defendant’s residence.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
